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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA


   IN RE:                                                *                     CASE NO. 05-17697
                                                         *
   ENTERGY NEW ORLEANS, INC.                             *                     CHAPTER 11
                                                         *
                         DEBTOR                          *                     SECTION “B”
                                                         *



                  OBJECTIONS TO THE THIRD AMENDED DISCLOSURE
              STATEMENT FOR THE THIRD AMENDED CHAPTER 11 PLAN OF
                 REORGANIZATION OF ENTERGY NEW ORLEANS, INC.,
                            DATED DECEMBER 20, 2006

            NOW INTO COURT, through undersigned counsel, comes Capital One, National

   Association, formerly known as Hibernia National Bank (“Capital One”) and objects to the

   Third Amended Disclosure Statement for the Third Amended Chapter 11 Plan of

   Reorganization of Entergy New Orleans, Inc., Dated December 20, 2006 (the “Debtor’s

   Third Amended Disclosure Statement”) on the following grounds:

                                                        1.

            The Debtor’s Third Amended Disclosure Statement does not address the Order signed

   by this Court on August 4, 2006 (the “Order”) and the affect of the Order on the Debtor’s

   proposed plan. Under the Order, this Court allowed the setoff by the Debtor of approximately

   $15,057,000.00 against a portion of Capital One’s secured claim in the captioned Chapter 11

   case. Capital One’s claim was and is secured by certain accounts receivable and other assets

   of the Debtor. After reviewing letters sent to the Court by certain attorneys, who appeared at

   the hearing concerning the debtor’s setoff motion1, and after a subsequent telephone


   1 The three e-mails with attached letters and other documents referred to in this pleading are attached hereto
   as Exhibits 1, 2, and 3, respectively.
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   conference among these attorneys and the Court, the Court added the last paragraph of the

   Order, which specifically states that nothing in the Order adjudicates the rights of any party in

   Adversary Proceeding No. 06-1153, entitled, Capital One, N.A., Formerly Known as Hibernia

   National Bank v. Entergy New Orleans, Inc., Debtor, Entergy Services, Inc., et al (the

   “Adversary Proceeding”). As the Court knows, the Debtor and several of its affiliates including

   its parent are parties to the Adversary Proceeding.

                                                  2.

          The possible outcomes of the Adversary Proceeding should be described in the

   Debtor’s Third Amended Disclosure Statement because they could affect security rights in

   certain of the Debtor’s assets, transfers of funds, and related matters. For example, if the

   Court decides that $13,548,000.00 of the funds used to pay Capital One’s secured claim

   are actually funds that were owned by Entergy Services, Inc., Entergy Corporation, Entergy

   Arkansas, Inc., Entergy Mississippi, Inc., System Energy Resources, Inc., or Entergy

   Operations, Inc., the Court may then also decide that those entities should be subrogated

   to Capital One’s security rights in the Debtor’s accounts receivable and other assets and

   treated accordingly under any plan, or the Court may choose to address the issues in this

   Adversary Proceeding in several other ways. The Third Amended Disclosure Statement

   should not state that Capital One’s claim is only approximately $960,000.00 but should

   state that the Court has reserved the right to address all the issues in the Adversary

   Proceeding including possibly ordering payments to the non-debtor Entergy entities and a

   corresponding reinstatement of a portion or all of Capital One’s original secured claim in the

   Chapter 11 case. Additionally, the Adversary Proceeding requests that the Court allow

   Capital One’s secured claim as oversecured and entitled to all the rights related thereto.




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   No lien or other security or setoff right claimed by Capital One can be released until all

   issues in the pending Adversary Proceeding are finally resolved. The release of the

   Debtor, the estate, and the Debtor’s affiliates including the parent provided in the Debtor’s

   proposed plan violate the Order and are unenforceable, and the Third Amended Disclosure

   Statement should so state. In order to provide adequate information as required by the

   Bankruptcy Code, the Third Amended Disclosure Statement should provide this information

   to all parties-in-interest.

                                                3.

          The Third Amended Disclosure Statement should be amended to state that Capital

   One’s secured claim was in the original principal amount of approximately $15,000,000.00

   plus interest, fees, costs, and other expenses as provided in the documents attached to

   Capital One’s proof of claim. It should also provide that it is secured by the assets and

   subject to the setoff rights provided in such documents. Finally, it should explain that the

   payment of approximately $15,057,000.00 through the setoff authorized by the Order was

   and is subject to the determination by this Court of the issues in the Adversary Proceeding

   that were specifically stated by this Court to not have been adjudicated in the Order.

          WHEREFORE, Capital One respectfully requests that the Court not approve the

   Debtor’s Third Amended Disclosure Statement until it is amended and supplemented to add

   the information stated hereinabove and to correct the inaccurate statements presently in

   the Debtor’s’ Third Amended Disclosure Statement.




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                                              Respectfully submitted,

                                              LEMLE & KELLEHER, L.L.P.


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